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                                                               i
                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA

             UNITED STATES OF AMERICA,                          ~ Southern Division
                                                     Plaintiff, ~
                               vs.                              I Case #: 8:19-MJ-00131-DUTY Complaint &Warrant
                                                                  Initial App. Date: 03/04/2019    Custody
            Stephen William Beal                                I Time: 02:00 PM




                                                  Defendant. ~ Date Filed: 03/01/2019
                                                             ~ Violation: 18 USC § 844(i)
                                                             ~ CourtSmart/Reporter: 03 04 19


      PROCEEDINGS HELD BEFORE UNITED STATES                    ~         CALENDAR/PROCEEDINGS SHEET
          MAGISTRATE JUDGE: John D. Earlv                      ~          LOCAL/OUT-OF-DISTRICT CASE




      PRESENT:           Maria G. Barr               Mark Takla / Annamartine                        /None
                                                                Salick
                   ----------------------------     ------------------------------   ---------------------------------
                          Deputy Clerk                Assistant U.S. Attorney                Interpreter/Language




          Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to
       bail; bail review and preliminary hearing

       [~ Defendant states true name is as charged.



          Defendant advised of consequences of false statement in financial affidavit.

       N, Attorney: Amy Karlin f,DFPD, ~:9Appointed

       L Government's request for detention is: GRANTED.

        k~ Defendant is ordered: Permanently Detained

       L Preliminary Hearing set for March 18 2019 at 3:00 PM in Santa Ana before Magistrate Judge Early

       l~ PIA set for March 25 2019 at 10:00 AM in Santa Ana before Maaistrete Judge Spaeth.

       ~ Defendant committed to the custody of the U.S. Marshal

                                                                                             Deputy Clerk Initials: mba
                                                                                                                00:05




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